           Case 2:20-cv-01218-RAJ-MAT Document 122 Filed 11/04/20 Page 1 of 3




 1                                                        THE HONORABLE RICHARD A. JONES
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 9   VICKY CORNELL, individually, and in              No. 2:20-cv-01218−RAJ−MAT
     her capacity as the Personal Representative
10   of the Estate of Christopher John Cornell       STIPULATED MOTION AND [PROPOSED]
     a/k/a Chris Cornell,                            ORDER GRANTING MOTION FOR LEAVE
11                                                   TO AMEND COMPLAINT
                            Plaintiffs,
12                                                   NOTE FOR MOTION CALENDAR:
     v.                                              NOVEMBER 4, 2020
13
     SOUNDGARDEN, a purported
14   Washington General Partnership, KIM A.
     THAYIL, MATT D. CAMERON,
15   HUNTER BENEDICT SHEPHERD, RIT
     VENERUS and CAL FINANCIAL
16   GROUP, Inc.,
17                          Defendants.
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19           Pursuant to Federal Rule of Civil Procedure 15(a)(2) and LCR 15, the Parties to the
20   above-captioned action stipulate that Plaintiffs shall have leave to file an amended complaint as
21   reflected in Exhibits 1 and 2 attached hereto. Further to LCR 15, Exhibit 1 is Plaintiffs’
22   proposed amended complaint, redlined to reflect changes from the complaint currently of record
23   (Dkt. No. 1). Exhibit 2 is a clean copy of the amended complaint, which Plaintiffs seek leave to
24   file. The Parties further stipulate that responses to the amended complaint will be due fourteen
25   (14) days after Plaintiffs file the amended complaint, following entry of the Court’s Order on this
26   stipulation.

      STIPULATED MOTION AND ORDER                                               Perkins Coie LLP
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                                                                           Seattle, WA 98101-3099
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          Case 2:20-cv-01218-RAJ-MAT Document 122 Filed 11/04/20 Page 2 of 3




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     IT IS SO ORDERED:
 2
            DATED this 4th day of November, 2020.
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                                                     Mary Alice Theiler
 6                                                   United States Magistrate Judge
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     Presented by:
10

11    By: s/ William C. Rava                        By: s/ Paul H. Beattie
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      STIPULATED MOTION AND ORDER                                        Perkins Coie LLP
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     STIPULATED MOTION AND ORDER                               Perkins Coie LLP
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